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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                    FLORENCE DIVISION

 Joshua Jordan,
                                                    Civil Action No.: 4:24-cv-00890-JD-TER
                                     Plaintiff,

 v.
                                                         DEFENDANTS’ SUR-REPLY TO
 Payment Saver, LLC, and Casey Graham,                 PLAINTIFF’S REPLY IN SUPPORT OF
                                                         PLAINTIFF’S MOTION TO FILE
                                  Defendants.          AMENDED COMPLAINT IN LIEU OF
                                                                    BRIEF



       Defendants, Payment Saver, LLC (“Payment Saver”) and Casey Graham (“Graham”)

(collectively referred to as “Defendants”), by and through their undersigned counsel, respectfully

submit Defendants’ Sur-Reply to Plaintiff’s Reply in Support of Plaintiff’s Motion to File Amended

Complaint in Lieu of Brief. This sur-reply is submitted in response to Plaintiff’s filing, dated

October 21, 2024, which attempts to respond to Defendants by erroneously citing Fourth Circuit

case law and offering new documentary evidence (D.E. No. 41). Defendants reiterate there is no

basis for Plaintiff invoking federal question jurisdiction or for Plaintiff to procedurally cure

subject-matter jurisdictional defects, and that this Court should dismiss Plaintiff’s request to amend

the original complaint.

                                            Argument

(A) Defendants reiterate subject matter jurisdiction may not be cured procedurally, and that
   Plaintiff attempts to cite Fourth Circuit case law which does not exist.

       Plaintiff’s citation “Cohn v. KeySpan Corp. 713 F. App’x 141, 144 (4th Cir. 2017) (citing

28 U.S.C. § 1653)” is blatantly incorrect. Cohn v. KeySpan is not a Fourth Circuit case, but rather

a 2010 case heard in the United States Eastern District of New York (properly cited as Cohn v.
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KeySpan Corp., 713 F.Supp.2d 143 (2010)). The portion of Plaintiff’s citation, “713 F.Appx. 141

(4th Cir. 2017)”, corresponds to the case Bagheri v. Bailey. Neither case stands for the proposition

Plaintiff attempts to assert. The quote cited by Plaintiff, “a plaintiff may cure a jurisdictional defect

in her complaint by amendment, and the court must allow such amendment” (D.E. No. 41), is not

merely misstated, but entirely absent from both Cohn v. KeySpan and Bagheri v. Bailey. The Court

in Bagheri did not even broach the subject of leave to amend pursuant to Rule 15(a). In Cohn, the

Court also did not address Rule 15(a), and instead focused discussion on Rule 12(b)(6), FRCP.

        Plaintiff will likely respond by attributing the above errors to Plaintiff’s status as a pro se

litigant. While Defendants do not wish to attribute deceptive intent to Plaintiff, his action follows

a concerning behavioral pattern dating back to Plaintiff’s interactions with the Delaware

Bankruptcy Court, Plaintiffs, and the Trustee in PreHired’s Chapter 7 bankruptcy case. Defendants

offer evidence in the Part C which demonstrates this trend.

(B) Plaintiff again fails to address the Bankruptcy Court’s Stipulated Final Judgment and
    Order.

        On November 20, 2023, the Bankruptcy Court entered a Stipulated Final Judgment and

Order finding PreHired’s “acts and practices described in the Complaint are unfair, deceptive, or

otherwise unlawful practices and violated [multiple federal statutes]” and ORDERED “each of the

PreHired Defendants, whether acting directly, indirectly, or through any Person, and the

Trustee...are permanently enjoined and restrained from operating, exercising control over, or

taking action on behalf of any [PreHired entity].” (See D.E. No. 40, Ex. B at ¶¶ 21, 30)(emphasis

added). Defendants reiterate this Order shows Plaintiff is barred from even attempting to use an

assignment of claims from PreHired based on the court’s findings concerning PreHired’s conduct.




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(C) Plaintiff’s citation to a hearing from PreHired’s bankruptcy case fails to authenticate
   Plaintiff’s alleged Assignment of Claims, and instead reveals a concerning pattern of
   behavior by Plaintiff.
         “The successful functioning of the bankruptcy act hinges both upon the bankrupt's veracity

and his willingness to make a full disclosure.” In re Goodin, 661 B.R. 705, 716 (Bankr. D. Mass.

2024). Bankruptcy Courts have exclusive jurisdiction over “all property, wherever located, of

Debtor as of the commencement of his case, and of property of the estate.” 28 U.S.C. § 1334(e)(1).

Property of the estate includes “all of the debtor’s interest in any cause of action that has accrued

prior to the bankruptcy petition.” In re Church, 657 B.R. 69 (Bankr. D.S.C. 2024) (citing Vinal v.

Fed. Nat'l Mortg. Ass'n, 131 F. Supp. 3d 529, 537 (E.D.N.C. 2015)).

         No evidence supports Plaintiff’s assertion that the Trustee for PreHired’s Chapter 7

bankruptcy proceedings either “acknowledged the existence and validity of the assignments” or

Plaintiff’s ability, or lack thereof, to act on behalf of PreHired. To the contrary, the September 17,

2024 bankruptcy proceedings cited by Plaintiff concerning a separate purported assignment from

PreHired to Jordan demonstrate the Bankruptcy Court, the Trustee, and State of Washington all

expressed concerns such assignments were in fact fraudulent conveyances under 11 U.S. Code §

548.

         Defendants cite the following statements by Trustee and counsel for the State of

Washington as evidence:

      1. The Bankruptcy Court’s asked Plaintiff “why the [assignments] weren’t revealed during
         the bankruptcy case?” Plaintiff responded by stating he “did not know it was his duty to
         disclose any potential document”, and claimed he would have “gladly produced” the
         assignments had he been asked. (Ex. A, Audio Recording1 of September 17, 2024 Hearing
         in In re PreHired LLC, et al., Case No. 22-11007-JTD at 6:45 – 8:30).

      2. The Court asked the Trustee whether “the trustee aware of these assignments?” Counsel
         for the Trustee responded, stating “I think at one point we were made aware of them.” (Ex.

1
    Upon the Court’s request, counsel can have the audio recording transcribed.
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       A at 27:23 – 27:52) (emphasis added). At no point did the Trustee, either directly or through
       counsel, state Plaintiff’s assignment was valid, as Plaintiff suggests.

   3. The Court asked, “did the Trustee consider that those assignments would be preferences or
      fraudulent conveyances?” Counsel for Trustee responded, “we considered them…but given
      the ‘state of the estate’ …it would be, I think, of minimal value given [Trustee’s]
      understanding of [Plaintiff’s] financial condition that it would probably be not worthwhile
      to pursue in this case.” (Ex. A at 27:52 – 28:20). Notably, Trustee’s counsel appeared to
      agree with the Court that Plaintiff’s assignments were fraudulent transfers or preferences,
      but that due to financial considerations, pursuing an action would “not be worthwhile to
      pursue.” Id.

   4. Counsel for the State of Washington stated Plaintiff consistently failed to disclose the
      assignment’s existence. To the State’s knowledge, Plaintiff’s statement of financial affairs,
      was not in any motions or declarations made by Plaintiff, and the State was not made aware
      of the assignments until Plaintiff’s former counsel emailed them “on the eve of trial asking
      for a continuance.” Notably, Plaintiff’s counsel waited until after a Washington court had
      issued partial summary judgment in favor of the State. (Ex. A at 30:42 – 31:33).

   5. The Court held plaintiff’s contentions were “not a valid request.” (Ex. A at 45:24 – 46:02).
      The Court found:
            (a) Plaintiff’s assignment was not disclosed during the Bankruptcy proceedings;
            (b) It was unclear when Trustee was made aware of assignments; and
            (c) regardless of Trustee’s awareness, the assignments were avoidable as either a
            preference or fraudulent conveyances. Id.

(D) Plaintiff has no valid Individual Claim under the Lanham Act.
       “A pleading that offers ‘labels and conclusions' or ‘a formulaic recitation of the elements

of a cause of action will not do.’ ”Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949, 173

L.Ed.2d 868 (2009) (quoting Twombly, 550 U.S. at 555, 127 S.Ct. 1955). “Nor does a complaint

suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id.

       Plaintiff cites his own “naked assertions” of Defendants’ alleged motive as proof of

commercial economic or reputational harm under Lexmark. Plaintiff relies on Paragraphs 34-36 of

Plaintiff’s Amended Complaint which state:



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       •   Defendants allegedly possessed “ill-will” and “improper motives” to hurt Jordan and
           PreHired’s reputations. (D.E. No. 38-1, Para. 34)

       •   Defendants allegedly caused substantial financial injury to Jordan’s business which
           “harm[ed] Jordan’s reputation as a business leader.” (D.E. No. 38-1, Para. 35).

       •   Plaintiff personally considered Defendant Graham’s statements to be “outrageous lies
           impugning his integrity and ethics to millions of industry professionals.” (D.E. No.
           38-1, Para. 36).

   Alleging “improper motives” or claiming Defendants statements were “outrageous lies” which

“harmed [Plaintiff’s] reputation” falls short of alleging sufficient facts to support an individual

claim under the Lanham Act for the reasons discussed in Defendants’ Response brief (D.E. No.

40).

                                          CONCLUSION

       Defendants respectfully submit that Plaintiff’s Motion to Amend his Complaint should be

denied because Plaintiff should not be allowed to cure the lack of subject matter jurisdiction by

amending his Complaint. However, even if the Court were to entertain the possibility of a motion

to amend, allowing Plaintiff to amend his Complaint would be futile because Plaintiff cannot

personally state a claim for violation of the Lanham Act and Plaintiff does not possess the legal

right to pursue these claims on behalf of PreHired.




                               [SIGNATURE ON NEXT PAGE]


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October 25, 2024




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